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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                       )
                                               )
               v.                              )         CR. NO. 96-10047-MLW
                                               )
FRANCIS COLEMAN                                )
                                               )

                                    MEMORANDUM AND ORDER

WOLF, D.J.                                                          December 31, 2009


       Defendant Francis Coleman is serving a 204 month sentence for

one count of conspiracy to distribute cocaine base, two counts of

possession          of    cocaine     base     with   intent   to    distribute     and

distribution of cocaine base, and aiding and abetting. As a result

of    Amendment          706   to   the   United   States   Sentencing    Guidelines

("U.S.S.G."), which retroactively reduces by two levels the offense

level for crimes involving crack cocaine in certain cases and

became effective March 3, 2008, Coleman moved for a reduction of

his   sentence           pursuant    to   18   U.S.C.   §3582(c)(2)     and   U.S.S.G.

§1B1.10.1           As    Coleman    is   indigent,     counsel   was   appointed   to

represent him.

       Coleman was sentenced, in 1998, as a career offender by Judge

Robert Keeton, who is now deceased.                      See May 21, 1998 Tr. of

Sentencing ("Tr.") at 38. Coleman's career offender guideline range


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      Coleman filed his Motion for Reduction of Sentence on March
12, 2008, and a Corrected Motion for Reduction of Sentence on
March 25, 2008. The corrected motion corrects an error in
reporting Coleman's time served that does not affect the merits
of his motion.
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was 292 to 365 months.        Judgment at 6.        Judge Keeton departed

downward to 204 months in the exercise of his discretion under

U.S.S.G. §5G1.3(c) (Policy Statement), which permitted a reduction

of the sentence imposed in a case in which the defendant was

serving an undischarged term of imprisonment.

     The First Circuit has held that a defendant sentenced as a

career   offender   is   ineligible       for   sentence   reduction   under

Amendment 706. See United States v. Caraballo, 552 F.3d 6, 7 (1st

Circuit 2008). In Caraballo, the district court first computed the

Guideline range based on drug quantity.             Id.    It then did the

alternate calculation based on the defendant's status as a career

offender, which resulted in an increased Guideline range of 151 to

188 months. The district court next granted Caraballo's motion for

a downward variance and imposed a 108 month sentence.           Id.

     In affirming the district court's decision that Caraballo was

not eligible for a sentence reduction as a result of Amendment 706,

the First Circuit noted that 18 U.S.C. §3582(c)(2) states that:

     In the case of a defendant who has been sentenced to a
     term of imprisonment based on a sentencing range that has
     subsequently been lowered by the Sentencing Commission
     . . . the court may reduce the term of imprisonment,
     after considering the factors set forth in section
     3553(a) to the extent that they are applicable, if such
     a reduction is consistent with applicable policy
     statements issue by the Sentencing Commission.

The Court of Appeals then wrote that "in enacting this statute,

Congress spoke with unmistakable clarity: before a district court

can consider a sentence modification thereunder, it must satisfy

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itself that the original sentence was 'based on a sentencing range

that has subsequently been lowered.'" Caraballo, 552 F.3d at 9.

     The First Circuit further explained:

     The term "sentencing range" clearly contemplates the end
     result of the overall guideline calculus, not the series
     of tentative results reached at various interim steps in
     the performance of that calculus. Thus, if an amended
     guideline does not have the effect of lowering the
     sentencing range actually used at sentencing, the
     defendant's sentence was not based on that range within
     the intendment of the statute.

                                   * * *

     Had the new guideline provision for crack cocaine
     offenses (Amendment 706) been in effect when this
     defendant was sentenced, that provision would not have
     had any effect on the sentencing range actually used. As
     we have said, the defendant's actual sentencing range was
     produced by reference to section 4A1.1 (the career
     offender guideline), not section 2D1.1 (the crack cocaine
     guideline). Thus, Amendment 706 did not lower the
     defendant's actual sentencing range. Consequently, the
     district court did not err in determining that it lacked
     the authority to modify the defendant's sentence under 18
     U.S.C. § 3582(c)(2).

Id. at 10-11.

     In   reaching   this   conclusion,    the   First    Circuit   rejected

Caraballo's   contention    that   he    was   eligible   for   a   sentence

reduction because the district court granted his request for a

downward variance. Although Caraballo argued that his sentence was

driven by his underlying offense conduct rather than his career

offender status, the First Circuit responded:

     This argument lacks force. For one thing, the defendant
     places more weight on the district court's remark [that
     the case involved a "routine . . . drug offense"] than
     that remark can bear. As we explained on direct review

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       and today reaffirm, the court's "primary rationale for
       imposing a sentence below the guideline sentencing range
       was not the nature of the offense conduct but, rather,
       the defendant's "medical condition, which [the court]
       characterized as 'obviously a serious situation.'"
       Caraballo, 447 F.3d at 27.

       Perhaps more importantly, even though the defendant
       received a non-guideline sentence, that has no effect on
       the sentencing range applicable in his case (i.e., the
       sentencing range contemplated by section 3582(c)). Under
       an advisory guidelines system, a variance is granted in
       the sentencing court's discretion after the court has
       established an appropriately calculated guideline
       sentencing range. See United States v. Martin, 520 F.3d
       87, 91 (1st Cir. 2008); United States v. Robinson, 433
       F.3d 31, 35 (1st Cir. 2005). It is that sentencing range
       that must be lowered by an amendment in order to engage
       the gears of section 3582(c)(2).

Id. at 11 (emphasis and second brackets in the original).

       Coleman contends that this court has the authority to reduce

his sentence, and should do so, based upon the reasoning of the

Second Circuit in United States v. McGee, 553 F.3d 225 (2d Cir.

2009).     In McGee, "the district court, though designating him a

career    offender,   see     U.S.S.G.        §4B1.1,   ultimately   based    [the

defendant's]     sentence     on   the    crack    cocaine    guidelines     after

downwardly departing based on a finding that the career offender

classification overrepresented his criminal history."                Id. at 226

(citing U.S.S.G. §4A1.3(b)).         The court noted that "the district

court explicitly stated that it was departing from the career

offender sentencing range 'to the level that the defendant would

have     been   in   absent    the   career        offender   calculation     and

consideration.'" Id. at 227.             The Second Circuit "acknowledge[d]


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that [Amendment 706] can be read to permit a reduced sentence only

where the defendant's pre-departure sentencing range is found

within the crack cocaine guidelines."      Id. at 229 (emphasis in the

original).    However, it concluded that "a defendant who was

designated a career offender but ultimately explicitly sentenced

based on a Guideline range calculated by Section 2D1.1 of the

Guidelines is eligible for a reduced sentence under 18 U.S.C.

§3582(c)(2) and the crack amendments."          Id. at 230.      See also

United States v. Poindexter, 500 F. Supp. 2d 578 (E.D. Penn. 2008)

(same).

     Coleman's reliance upon McGee is, however, misplaced for two

reasons. First, First Circuit precedent governs this case. Second,

the instant case is factually distinguishable from McGee.

     As Judge Nancy Gertner has written, the First and Second

Circuits have in Caraballo and McGee taken "distinctly different"

approaches to the issue of eligibility for a reduction. United

States v. Hargrove, 628 F. Supp. 2d 241, 243 (D. Mass. 2009).          "The

First Circuit believes that 'based on' refers to the pre-departure

range, the career offender range, while the Second believes it

refers to the post-departure range."      Id. at 244.    It is axiomatic

that the First Circuit's interpretation of Amendment 706 must be

applied in the District of Massachusetts, which is in the First

Circuit.

     In contrast to McGee, Caraballo did not involve a variance


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expressly rooted in a determination that the career offender

Guideline range was inappropriate and the crack cocaine sentencing

range should be applied instead.              The First Circuit's statement in

Caraballo, that "if the amended guideline range does not have the

effect   of   lowering      the     sentencing      range    actually   used     at

sentencing, the defendant's sentence was not based on that range

within the intendment of the statute" suggests that the First

Circuit might possibly follow McGee if presented with a factually

comparable    case.   552    F.3d    at   10     (emphasis   added);    see    also

Hargrove, 628 F. Supp. 2d at 244.

     The instant case is not, however, factually comparable to

McGee.   At the sentencing hearing, Judge Keeton denied Coleman's

objection to his status as a career offender and rejected Coleman's

argument that his criminal history overstated the significance of

his criminal conduct.       See May 21, 1998 Tr. at 37.         After reviewing

Coleman's criminal history, Judge Keeton concluded that "the career

offender classification is entirely appropriate in this case." Id.

at 38.   This case is, therefore, analogous to Hargrove, in which

Judge Gertner wrote that the defendant would not "fare any better

under the Second Circuit's approach" because at the original

sentencing she did not depart from the career offender guidelines

because she had "concluded that the range was appropriate." 628 F.

Supp. 2d at 245.

     The court recognizes that, as Coleman notes, Judge Keeton said


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in deciding to depart downward to 204 months pursuant to §5G1.3(c)

that:

        some of the circumstances brought to my attention there
        as part of the reason for my exercise of discretion with
        respect to allowing the 88 months downward counting for
        the mandatory minimum that would otherwise apply, but in
        other respects overrule that objection and request to
        overrule that objection and deny the request for a
        determination that the criminal history category
        overstates the severity of the offense.

Id. at 39.     Thus, Coleman argues that the sentencing judge viewed

the career offender Guideline range as excessive.          In addition, he

notes that 204 months was within the range that would have been

generated by the crack cocaine Guideline, §2D1.1, if it had been

applicable.

        However, it is undisputed that the departure was based on

§5G1.3(c), which relates to sentences imposed on defendants while

they are imprisoned for other offenses in order "to achieve a

reasonable punishment for the instant offense."               As explained

earlier, Judge Keeton expressly found Coleman's status as a career

offender fairly reflected the significance of his criminal history.

In addition, Judge Keeton made no reference to the crack cocaine

Guideline range in fashioning his 204-month sentence.                    As in

Caraballo, there is no manifest indication that "the court was

relying on the severity of the underling crack cocaine crime to fix

[the] sentence."      552 F.3d at 11.     Rather, the "primary rationale

for imposing a sentence below the guideline sentencing range was

not the nature of the offense conduct," but the fact that Coleman

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was already serving time in prison. Id. (internal quotation marks

and citation omitted). Therefore, the First Circuit's holding in

Caraballo causes this court to conclude that Coleman's request for

a reduction of sentence must be denied.

     Accordingly, Coleman's Corrected Motion for Reduction of

Sentence (Docket No. 893) is hereby DENIED.




                                        /s/ MARK L. WOLF
                                       UNITED STATES DISTRICT JUDGE




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